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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,                    :     Case No. 1:20-cr-77
                                              :
 vs.                                          :     Judge Timothy S. Black
                                              :
 LARRY HOUSEHOLDER (1),                       :
                                              :
        Defendant.                            :

  ORDER DENYING DEFENDANT HOUSEHOLDER’S MOTION TO SEVER

       This criminal case is before the Court on Defendant Larry Householder’s motion

to sever (Doc. 106) and the parties’ responsive memoranda (Docs. 111, 117).

                                    I. BACKGROUND

       On July 30, 2020, a federal Grand Jury returned a single-count Indictment,

charging Defendant Larry Householder and five co-defendants with participating in a

Racketeer Influenced and Corrupt Organizations (“RICO”) conspiracy, in violation of 18

U.S.C. § 1962(c), (d). (Doc. 22 at 10, 40).

       Specifically, the Indictment alleges that, beginning in 2016 and continuing until

2020, Defendants Larry Householder, Jeffrey Longstreth, Neil Clark, Matthew Borges,

Juan Cespedes, and Generation Now (collectively, the “Co-Defendants”), constituted an

enterprise (the “Householder Enterprise”), the purpose of which enterprise was to grow

Defendant Householder’s political power, to enrich the Householder Enterprise and its

members and associates, and to conceal these activities from public exposure and

potential prosecution. (Id. at 1, 10).
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       Following the Indictment, Defendants Longstreth, Cespedes, and Generation Now

pleaded guilty to the offense charged. (Min. Entries, Oct. 29, 2020, Feb. 9, 2021).

Defendant Neil Clark died and, accordingly, the case against him was dismissed. (Doc.

88). Thus, Defendants Larry Householder and Matthew Borges are the only remaining

defendants.

       The case as to Defendants Householder and Borges is set to proceed to voir dire

on January 20, 2023, and to jury trial on January 23, 2023. (Doc. 118). However,

Defendant Householder has filed the instant motion seeking to sever his trial from that of

Defendant Borges. (Doc. 106).

                              II. STANDARD OF REVIEW

       “[An] indictment or information may charge 2 or more defendants [in the same or

separate counts] if [the defendants] are alleged to have participated in the same act or

transaction, or in the same series of acts or transactions, constituting an offense or

offenses.” Fed. R. Crim. P. 8(b). And “[p]ersons jointly indicted normally should be

tried together.” United States v. Gallo, 763 F.2d 1504, 1525 (6th Cir. 1985) (citing

United States v. Stull, 743 F.2d 439 (6th Cir. 1984)). Indeed, “[it is] not just more

efficient to have one trial and one set of evidentiary admissions for all defendants at once,

… but a joint trial also decreases the risk of inconsistent verdicts.” United States v.

Tisdale, 980 F.3d 1089, 1094 (6th Cir. 2020) (citing Richardson v. Marsh, 481 U.S. 200,

210 (1987); United States v. Warner, 971 F.2d 1189, 1196 (6th Cir. 1992)). In short,

“[j]oint trials are favored.” United States v. Tocco, 200 F.3d 401, 413 (6th Cir. 2000).




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       However, the Court may sever the trials of jointly-indicted defendants “[i]f the

joinder … appears to prejudice a defendant ….” Fed. R. Crim. P. 14(a). But “Rule 14

does not require severance even if prejudice is shown … [and] it is well-settled that

defendants are not entitled to severance merely because they may have a better chance of

acquittal in separate trials.” Zafiro v. United States, 506 U.S. 534, 538-39, 540 (1993).

Rather, “less drastic measures, such as limiting instructions, often will suffice to cure any

risk of prejudice.” Id. at 539 (citing Richardson, 481 U.S. at 211). And “[Rule 14]

leaves the tailoring of the relief to be granted, if any, to the district court’s sound

discretion.” Id.

       Thus, “a district court should grant a severance [of properly joined defendants]

under Rule 14 only if there is a serious risk that a joint trial would compromise a

specific trial right of one of the defendants, or prevent the jury from making a reliable

judgment about guilt or innocence.” Id. (emphasis added). “The defendant ‘has a heavy

burden of showing specific and compelling prejudice’ from having a joint trial.” Tocco,

200 F.3d at 413 (quoting United States v. Harris, 9 F.3d 493, 500 (6th Cir. 1993)).

                                       III. ANALYSIS

       Defendant Householder argues that “[t]he government improperly joined

Householder and Borges as defendants in this case,” and that while the “Indictment tried

to allege a sweeping RICO conspiracy among the defendants, the government, in fact,

alleged multiple conspiracies that do not involve Householder and Borges.” (Doc. 106 at

1). Thus, Defendant Householder argues that “severance of these misjoined counts and

defendants is mandatory.” (Id.) In the alternative, Defendant Householder argues that


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severance is warranted, because proceeding to trial jointly will “impermissibly prejudice

Householder.” (Id.) In particular, Defendant Householder alleges that the admission of

Defendant Borges’s proffer statements would cause a Bruton issue. (Id. at 4, 8-11); see

Bruton v. United States, 391 U.S. 123, 127 (1968). Finally, Defendant Householder

argues that the COVID-19 pandemic warrants severance, as severing the two defendants

would result in a shorter trial for each, and thereby minimize the likelihood that trial will

be disrupted by the illness of trial participants. (Id. at 11-12).

       The Government responds that Defendants Householder and Borges are properly

joined in the Indictment and should proceed to trial together. (Doc. 111). Specifically,

the Government argues that joinder is proper because Defendants Householder and

Borges are charged with a RICO conspiracy and are alleged to be members of the same

RICO enterprise (i.e., the Householder Enterprise). (Id. at 2-5). The Government further

argues that any Bruton issue can easily be remedied by less drastic means than severance.

(Id. at 5-8). Finally, the Government asserts that the COVID-19 pandemic does not

warrant severance, because the Court can implement safety protocols to minimize the

risk. (Id. at 9-11). Moreover, the Government notes that severing the trials would only

amplify the risk of exposure to all trial participants, and would result in massive

inefficiencies and a waste of judicial resources. (Id.)

       As set forth fully, infra, the Court finds no merit in Defendant Householder’s

misjoinder argument. Moreover, the Court finds that Defendant Householder has failed

to meet his burden to show prejudice sufficient to warrant severance. Less drastic means

will suffice to cure any potential prejudice. Accordingly, severance is unwarranted.


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       A. The Indictment Properly Joins Defendants Householder and Borges

       Defendant Householder argues that he is improperly joined with Defendant Borges

in the Indictment and, therefore, the trials must be severed. (Doc. 106 at 6-8).

Specifically, Defendant Householder argues that he and Defendant Borges are charged as

“independent spokes” in a “rimless wheel” conspiracy, centered around FirstEnergy.

(Id.) Defendant further argues that, “[a]s alleged in the Indictment, Householder and

Borges had completely separate roles in the alleged RICO conspiracy,” and that “[t]he

government does not allege that Householder knew of Borges’s actions or that

Householder and Borges did anything in furtherance of a single enterprise.” (Id. at 7-8).

In short, Defendant Householder argues that the Indictment “alleged at least two

conspiracies: one involving Householder and another involving Borges,” and thus the two

cases should be tried separately. (Id. at 8).

       In response, the Government argues that because the Indictment specifically

charges a RICO conspiracy, Defendant Householder’s “rimless wheel” argument is

flawed. (Doc. 111 at 2-4). The Government notes that “the focus of RICO conspiracy is

the defendant’s agreement to participate in the conduct of the affairs of the enterprise

through a pattern of racketeering activity; not the defendant’s agreement to commit a

predicate racketeering act.” (Id. at 4). The Government asserts that, consistent with the

elements of a RICO conspiracy charge, the Indictment alleges that the Co-Defendants

and others all constituted an “enterprise” and further alleges that the Co-Defendants “did

knowingly and intentionally conspire with each other and with others known and

unknown … to conduct and participate directly and indirectly, in the conduct of the


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affairs of the enterprise through a pattern of racketeering.” (Id. at 3). Accordingly, the

Government argues that Defendants Householder and Borges are properly joined for

purposes of a RICO conspiracy. (Id. at 2-4). The Court agrees.

       At its core, Defendant Householder’s argument fails because Defendant wholly

mischaracterizes the allegations contained in the Indictment. Specifically, Defendant

Householder asserts that the Indictment fails to allege that “Householder knew of

Borges’s actions or that Householder and Borges did anything in furtherance of a single

enterprise.” (Doc. 106 at 7-8). However, the Indictment expressly alleges that the Co-

Defendants were all members of the same RICO enterprise (i.e., the Householder

Enterprise), and that the Householder Enterprise “constituted an ongoing organization

whose members functioned as a continuing unit for a common purpose achieving the

objectives of the enterprise ….” (Doc. 22 at 1-2); see United States v. Turkette, 452 U.S.

576, 583 (1981) (defining an association-in-fact enterprise as “a group of persons

associated together for a common purpose of engaging in a course of conduct”)

(emphasis added). The Indictment further explains that the purpose of the Householder

Enterprise was to grow Defendant Householder’s political power, to enrich the

Householder Enterprise and its members and associates, and to conceal these activities

from public exposure and potential prosecution. (Id. at 10). And the Indictment

specifically alleges that the Co-Defendants all “knowingly and intentionally conspire[d]

with each other” to conduct the affairs of the Householder Enterprise through a pattern of

racketeering activity. (Doc. 22 at 10) (emphasis added). Thus, the Indictment more than

sufficiently alleges the joint efforts of all Co-Defendants—which includes Defendants


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Householder and Borges—in knowingly conspiring with each other to conduct the affairs

of a single RICO enterprise. See also n.1, infra.

       Defendant Householder’s argument that the Indictment actually charges more than

one conspiracy is equally without merit. Specifically, Defendant Householder notes that

“Householder and Borges had completely separate roles in the alleged RICO conspiracy.”

(Doc. 106 at 7). But there is no requirement that every member of a conspiracy must

perform the same role his alleged co-conspirators. Indeed, logic alone would dictate that

no criminal conspiracy could operate efficiently if every co-conspirator were tasked with

the same job each of his co-conspirators.

       In Salinas v. United States, the U.S. Supreme Court clearly explained how the

division of labor may operate in a conspiracy:

              A conspiracy may exist even if a conspirator does not agree to
              commit or facilitate each and every part of the substantive
              offense. … The partners in the criminal plan must agree to
              pursue the same criminal objective and may divide up the
              work, yet each is responsible for the acts of each other. … If
              conspirators have a plan which calls for some conspirators to
              perpetrate the crime and others to provide support, the
              supporters are as guilty as the perpetrators.

522 U.S. 52, 63–64 (1997) (internal citations omitted) (emphasis added). And, critically,

the RICO conspiracy statute in particular is intentionally drafted to cast a wider net than a

general conspiracy charge. Id. at 63-65 (“The RICO conspiracy provision, then, is even

more comprehensive than the general conspiracy offense … [and] [t]he RICO conspiracy




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statute, § 1962(d), broadened conspiracy coverage by omitting the requirement of an

overt act”).1

        For purposes of a RICO conspiracy, what matters is that “the defendant intended

to further an endeavor which, if completed, would satisfy all of the elements of a

substantive [RICO] criminal offense [and] it suffices that he adopt the goal of furthering

or facilitating the criminal endeavor.’” United States v. Rios, 830 F.3d 403, 424 (6th Cir.

2016) (quoting United States v. Fowler, 535 F.3d 408, 421 (6th Cir. 2008)). In the instant

case, the alleged criminal endeavor, in short, was for the members and associates of the

Householder Enterprise to benefit financially from Defendant Householder’s position of

power. Furthering this alleged criminal endeavor was not accomplished through one

singular act, and thus it is to be expected that the Co-Defendants’ roles will vary. Such

variation, however, does not amount to multiple alleged conspiracies—it amounts to one,

ongoing RICO conspiracy involving multiple alleged co-conspirators.


1
 As the Sixth Circuit explains in United States v. Sosa-Baladron, even with regard to a general
conspiracy:

                A single conspiracy is not converted to multiple conspiracies simply
                because it can be subdivided, or because there are changes in the
                individuals involved or the roles that they play in the conspiracy….
                The participants need not know each of the other co-conspirators nor
                the details of their actions or roles in the conspiracy. … But the
                government must show that the alleged co-conspirators agreed to
                participate in a collective venture directed toward a common goal….
                A tacit or material understanding among the parties to a conspiracy
                is sufficient to establish the agreement, [and] conspiracy may be
                inferred from circumstantial evidence which may reasonably be
                interpreted as participation in a common plan.

800 F. App’x 313, 321 (6th Cir. 2020) (internal quotation marks and citations omitted) (emphasis
added).

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         Pursuant to Fed. R. Crim. P. 8(b), the Court finds that the Indictment properly

joins Defendants Householder and Borges as co-conspirators. Accordingly, severance of

the trial is not warranted.

         B. Severance is Unnecessary to Avoid Risk of Prejudice

         Defendant Householder also argues that a joint trial will result in prejudice and

create a Confrontation Clause issue under Bruton. (Doc. 106 at 8-11). Specifically,

Defendant Householder argues that Defendant Borges engaged in proffer sessions with

the Government and, during the course of the trial, the Government may seek to

introduce Defendant Borges’s statements during the trial. (Id.) Defendant Householder

argues that, to the extent he is implicated in any of Defendant Borges’s statements, the

introduction of those statements at trial would deprive Defendant Householder of his

right to confront the witnesses against him, unless Defendant Borges testifies (thereby

creating the Bruton issue). (Id.) Defendant Householder acknowledges that the Court

could typically remedy a Bruton issue without resorting to severance, but Defendant

argues that the less-severe remedies will not suffice in this case. (Id. at 10-11; Doc. 117

at 2).

         In response, the Government argues that a proper limiting instruction and

redaction of the statements will sufficiently eliminate any risk of prejudice in this case.

(Doc. 111 at 5-7). More importantly, however, the Government argues that Defendant

Borges’s statements will not create a Bruton issue, because the Government does not

intend to introduce the portions of Defendant Borges’s statements that incriminate

Defendant Householder unless Defendant Borges were to testify. (Doc. 111 at 8).


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         In Bruton, the U.S. Supreme Court held that “a defendant is deprived of his Sixth

Amendment right of confrontation when the facially incriminating confession of a

nontestifying codefendant is introduced at their joint trial, even if the jury is instructed to

consider the confession only against the codefendant.” Richardson v. Marsh, 481 U.S.

200, 207 (1987) (emphasis added). However, “the Confrontation Clause is not violated

by the admission of a nontestifying codefendant’s confession with a proper limiting

instruction when, as here, the confession is redacted to eliminate not only the defendant’s

name, but any reference to his or her existence.” Id. at 211.2

         Here, the Court first notes that the possibility of a Bruton issue is, at best, remote

and speculative. Specifically, Bruton only applies to the facially incriminating statements

of a non-testifying co-defendant. Thus, there is no Bruton issue unless Defendant Borges

elects not to testify (as is his absolute right). Additionally, there can be no Bruton issue

unless the Government offers Defendant Borges’s statements into evidence and those

statements facially implicate Defendant Householder. And, in that regard, it bears noting

that, pursuant to Defendant Borges’s proffer agreement, the Government cannot present

his statements unless Defendant Borges first takes a position inconsistent with those

statements. The Court will not sever the trial of two properly joined defendants on the

off-chance that Defendant Borges’s statements are introduced at trial, that the statements

do facially implicate Defendant Householder, and that Defendant Borges will not testify.


2
 The Supreme Court also recognized that “[j]oint trials play a vital role in the criminal justice
system,” and thus declined to adopt a bright-line rule requiring severance or exclusion anytime a
potential Bruton may arise—opting instead to encourage a case-by-case, tailored remedy, based
on the circumstances that present. Id. at 206-11.

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       Moreover, the Government has stated in its response that “Borges did implicate

Householder with respect to other aspects of the conspiracy and Borges’ knowledge of

Householder’s conduct … [but] the government does not intend to refer to these

statements if Borges does not testify.” (Doc. 111 at 8, n.5) (emphasis added). The Court

relies on the representations of the Government, which representations further evidence

that a Bruton issue is very unlikely to arise.

       Finally, even assuming that the Government elects to offer Defendant Borges’s

statements into evidence, and assuming that the statements facially implicate Defendant

Householder, and further assuming that Defendant Borges has not yet testified (or has

already elected not to testify), the Court finds that redaction and a proper limiting

instruction is more than sufficient to eliminate a Bruton issue in this case. Specifically,

the Government notes that Defendant Borges’s statements implicate Defendant

Householder “with respect to other aspects of the conspiracy….” (Id.) Given the number

of co-defendants, unindicted co-conspirators, and other associates in this case, the Court

finds that these statement can be adequately redacted, so as to obscures any reference to

or inference regarding Defendant Householder. With regard to Defendant Borges’s

statements about his “knowledge of Householder’s conduct,” these statements may,

admittedly, be more difficult to adequately redact. For instance, to the extent that the

conduct involves legislative action, Defendant Householder is the only Co-Defendant

who fits the bill. Nevertheless, the Court will not speculate regarding redaction at this

time. Suffice it to say, of the options the Court has before it to remedy this entirely

hypothetical scenario, severance is wholly unwarranted.


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       The Court finds that Defendant Householder has failed to meet his burden to show

that he will be substantially prejudiced by proceeding to trial jointly with Defendant

Borges. Accordingly, the Court declines to sever Defendants Householder’s and

Borges’s trial.

       C. The Court Will Implement Appropriate COVID-19 Protocols

       Finally, Defendant Householder argues that severance is warranted due to the

COVID-19 pandemic. (Doc. 106 at 11-12). Specifically, Defendant Householder argues

that proceeding to trial jointly will increase the number of people who are required to be

present in the courtroom each day and would prolong the duration of the trial iself,

thereby creating “[a] greater [] chance the proceedings will be hampered or delayed due

to illness of Defendants, counsel, the jury, or the court.” (Id. at 12). Accordingly,

Defendant Householder asserts that severing the trial “will result in a shorter trial (e.g.,

only one cross-examination—instead of two—per witness), remove the need to present

evidence relevant to just Householder or just Borges, and reduce the risk posed by the

pandemic.” (Id.)

       The Government responds that Defendant Householder’s proposed severance

would not decrease the risk to everyone safety, but indeed would effectively double the

risk for all involved. (Doc. 111 at 9). The Government notes that because Defendant

Householder and Defendant Borges are charged as co-conspirators in the same RICO

conspiracy, the Government the evidence against both Defendants is one and the same.

(Id.) Therefore, severing the trials would result in the Government presenting the same

witnesses and evidence—not once, but twice—thereby doubling the risk of exposure and


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the inconvenience to everyone involved. The Government argues that “such a procedure

would be a significant waste of judicial and prosecutorial resources, and would be

antithetical to the strong policy favoring joint trials – a policy intended to ensure that ‘a

given transaction need only be proved once.’” (Id.) (quoting United States v. Swift, 809

F.2d 320, 322 (6th. Cir. 1987)). Finally, the Government notes that this Court held an

equally lengthy jury trial in the fall of 2021 (United States v. Yanjun Xu, No. 1:18-cr-43),

during which trial the Court effectively implemented protocols that ensured the safety of

all participants. (Id.)

          The Court agrees that severing this trial will effectively amplify the risk of

exposure and the inconvenience to the parties, the witnesses, the Court, and the public.

Although Defendant Householder is correct that severance will likely result in a slightly

shorter trial for himself and Defendant Borges, holding two separate trial would nearly

double the time, effort, and risk of exposure for everyone else involved. Thus, any

benefit that comes from holding a marginally shorter trial per defendant is vastly

outweighed by the extraordinary waste of time and resources that such a procedure would

create.

          Additionally, as the Government notes, this Court has experience holding a

lengthy jury trial during the pandemic. And the Court will implement similar protocols

during Defendants Householder and Borges’s joint trial, in order to minimize the risk to

the parties, the witnesses, the jurors, the public, and the Court.3



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    The Court will discuss its safety protocols with the parties during the Final Pretrial Conference.

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                                IV. CONCLUSION

      Based upon the foregoing, Defendant Householder’s motion to sever (Doc. 106) is

DENIED.

      IT IS SO ORDERED.

Date: 1/3/2023
                                                       Timothy S. Black
                                                       United States District Judge




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